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    ....A024SB   (Rev. 9/00) Judgment in a Criminal Case
                 Sheet I

                                                                        I "">
                                                                          J l                                                  18 {til 8: 32
                                             UNITED STATES DISTRICT COURT
                                                 SOUTHERN DISTRICT OF CALIFORNIA                                        .                          l'~
                                                                                                                                                     C~SE
                                                                                                                                 c     ••.   ·,'




                   UNITED STATES OF AMERICA                                        AMENDED JUDGMENT IN A CRIMINAL
                                       v.                                          (For Offenses Comm ittcd On or A fter November I, ~Wl:fj y

                       SARKIS MOOSHIDIAN (5)                                       Case Number: 12CR4352-JLS

                                                                                   JOHN C. LEMON
                                                                                   Defendanfs Attomey
    REGISTRATION NO. 35433298
    ~ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P.36)
    THE DEFENDANT:
    181 pleaded guilty to count(s) ONE OF THE INDICTMENT
    o was lound guilty on count(s)-------------------------------------------------------------------
         after a plea of not guilty.
         Accordingly. the defendant is adjudged guilty of sueh count(s). which involve the following otfense(s):
                                                                                                                                                Count
    Title & Section                         Nature of Offense                                                                                  Number(s)
18 USC 371                          CONSPIRACY




            The defendant is sentenced as provided in pages 2 through                   4           of this judgment. The sentence is imposed pursuant
    to the Sentencing Reform Act of 1984.
    o    The detCndant has been found not guilty on count(s)___________________________________
    o    Counl(s) _ _ _ _ _ _ _ _ _ _ _ __                                   is   0 areDdismissed on the motion of the United States.
    181 Assessment: $100.00 IMPOSED


    181 Fine ordered waived                  o   Forfeiture pursuant to order filed                                         included herein.
             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name. residence,
    or mailing address until all fines, restitution. costs. and special assessments imposed by this judgment are fully paid. If ordered to pay restitution. the
    delendant shall notify the court and United States Attorney of any material change in the defendant's economic cireumstances.


                                                                                    OCTOBER 25,2013
                                                                                   Date of Imposition of Sentence



                                                                                                                    ~
                                                                                   UNITED STATES DISTRICT JUDGE


                                                                                                                    12CR4352-JLS
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AO 245D        (Rev, 3/10) Judgment in a Criminal Case for Revocations
               Sheet ~ -- Probation
                                                                                                        Judgment~-Page     2     or   _---'4"-_ _
DEFENDANT: SARKIS MOOSHIDIAN (5)                                                                  a
CASE NUMBER: 12CR4352-JLS
                                                                         PROBATION
The defendant is herebv sentenced to orobation for a term of:
 FIVE (5) YEARS


The defendant shall not commit another federal, state, or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defcndant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                         -­

o        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
         future substance abuse. (Check, if applicable.)

[81 The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
    'me defendant shall cooperate in the collection ofa DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
[81 Backlog Elimination Act of 2000. pursuant to 18 USC sections 3563(a)(7) and 3583(d),
o        The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works,
         or is a student, as directed by the probation officer. (Check, if applicable.)

o        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of probation that the defendant pay any such fine or
restitution in accordance with the Schedule of Payments sheet of this judgment.
        The defendant shall comply with the standard conditions that have been adopted by this court (set forth below). The defendant shall
also comply with the special conditions imposed.

                                          ST ANDARD CONDITIONS OF SUPERVISION
   I)      the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2)      the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
           of each month;
  3)       the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)       the defendant shall support his or her dependents and meet other family responsibilities;
   5)      the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
           acceptable reasons;
  6)       the defendant shan notify the probation officer at least ten days prior to any change in residence or employment;
   7)      the defendant shan refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
           substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)      the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)      the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
           a felony, unless granted permission to do so by the probation officer;
 10)       the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
           any contraband observed in plain view of the probation officer;

  I ')     the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
           officer;
 12)       the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
           permission of the court; and
  13)      as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
           criminal record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm
           the defendant's compliance with such notification requirement.


                                                                                                                                   12CR4352-JLS
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       1\0 245B    (Rev" 9100) Judgment in a Criminal Case
                   Sheet 4 - " Special Conditions
                                                                                                         Judlpnent--Page   ----.l.- of _ _..:4_ __
       DEFENDANT: SARKIS MOOSHIDIAN (5)                                                             o
       CASE NUMBER: 12CR4352-JLS




                                               SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
    reasonable manner, based upon reasonable suspicion of contraband or cvidence of a violation of a condition of release; failure to submit to a
    search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
    this condition.

o If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
  officer with 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
o Not transport, harbor, or assist undocumented aliens.
o Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o Not enter the Republic of Mcxico without written permission of the Court or probation officer.
o Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
o Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any fonn.

o psychiatrist/physician,
  Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
                          and not discontinue any medication without pennission. The Court authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by the probation officer. The defendant may be required
    to contribute to the costs of services rendered in an amount to be determined by the probation officer, based on the defendant's ability to pay.

o officer,
  Take no medication containing a controlled substancc without valid medical prescription, and provide proof of prescription to the probation
           if directed.
[8] Provide complete disclosure of personal and business financial records to thc probation officer as requested.
[8] Be prohibited from opening checking accounts or incurring new crcdit charges or opening additional lines of credit without approval of the
    probation officcr.
o Seek and maintain full time employment and/or schooling or a combination of both.
o Resolve all outstanding warrants within        days.
o Complete hours of community service in a program approved by the probation officer within
o Reside in a Residential Reentry Centcr (RRC) as directed by the probation officer for a period of
[8] Notify the Collcctions Unit, U.S. Attorney's Officc, of any interest in property  obtained, directly or indirectly, including any interest
    obtained under any other name, entity, including trust, partnership or corporation, until restitution is paid in full.

[8] Notify the Collcetions Unit, U.S. Attorney's Office, before transferring any interest in any property owned directly or indirectly, including
    any interest held or owned under any other name or entity, including trusts, partncrships, or corporations, until restitution is paid in full.


     The Court orders Home Detention 6 months with no electronic or GPS monitoring.




                                                                                                                                         I2CR4352-JLS
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AO 2458      Judgment in Crlmillal Case
             Sheet 5 - Criminal Monetary Pel1alties

                                                                                                       Judgmel1t   Page     4   of       4
DEFENDANT: SARKIS MOOSHIDIAN (5)                                                                 a
CASE NUMBER: 12CR4352-JLS

                                                              RESTITUTION

The defendant shall pay restitution in the amount of                   $66,500.00           unto the United States of America.




          This sum shall be paid          __ immediately.
                                           )C as follows:
           Pay restitution in the amount of $66,500.00 to Citigroup, Inc., through the Clerk. U.S. District Court. Payment of
           restitution shall be forthwith. During any period of incarceration the defendant shan pay restitution through the Inmate
           Financial Responsibility Program at the rate of 50% of the defendant's income, or $25.00 per quarter, whichever is
           greater. The defendant shall pay the restitution during his probation at the rate of $300.00 per month. These payment
           schedules do not foreclose the U.S. from exercising all legal actions, remedies, and process available to it to collect the
           restitution judgment.




      The Court has dctermined that the defendant           does not    have the ability to pay interest. It is ordered that:

     K        The intercst requirement is waived.

              The interest is modified as follows:




                                                                                                       12CR4352-JLS
